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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 18-cv-02243-LTB-NYW

  WILLIAM NORRIS,

         Plaintiff,

  v.

  UNIVERSITY OF COLORADO BOULDER, and
  PHILIP P. DISTEFANO,

         Defendants.

                ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE

  Magistrate Judge Nina Y. Wang

         IT IS ORDERED that a Scheduling Conference is set June 4, 2019 at 10:30 a.m., in
  Courtroom A-502, 5th Floor, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
  Colorado. Please remember that anyone seeking entry into the Alfred A. Arraj United States
  Courthouse will be required to show valid photo identification. See D.C.COLO.LCivR 83.2(b).

          A copy of the instructions for the preparation of a scheduling order and a form of
  scheduling order can be downloaded from the court’s website at www.cod.uscourts.gov. The
  parties or their counsel shall submit their proposed scheduling order, pursuant to District of
  Colorado Electronic Case Filing (“ECF”) Procedures V.6.0, including a copy of the proposed
  scheduling order in a Word format sent via email to Wang_Chambers@cod.uscourts.gov, seven
  days prior to the Scheduling Conference.

         IT IS FURTHER ORDERED that counsel/pro se parties in this case shall hold a pre-
  scheduling conference meeting and prepare a proposed Scheduling Order in accordance with
  Fed. R. Civ. P. 26(f) and D.C.COLO.LCivR 16.1 and 26.1(a) on or before twenty-one days
  prior to the Scheduling Conference. Pursuant to Fed. R. Civ. P. 26(d) no discovery shall be
  sought until after the pre-scheduling conference meeting.

         IT IS FURTHER ORDERED the parties shall comply with the mandatory disclosure
  requirements of Fed. R. Civ. P. 26(a)(1) on or before fourteen days after the pre-scheduling
  conference meeting.
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  DATED: May 3, 2019                      BY THE COURT:

                                          ____________________________
                                          Nina Y. Wang
                                          United States Magistrate Judge
